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11                               UNITED STATES DISTRICT COURT
12                                    DISTRICT OF NEVADA

13
      IN RE: J&J INVESTMENT LITIGATION               Case No. 2:22-cv-00529-GMN-NJK
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15                                                   NOTICE OF VOLUNTARY
                                                     DISMISSAL
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17                                                   Judge:    The Hon. Gloria M. Navarro
18                                                              The Hon. Nancy J. Koppe
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                      Notice of Voluntary Dismissal – No.: 2:22-cv-00529-GMN-NJK
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1           Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,

2    Plaintiffs Philomena Moloney, Travis Goldrup, Tina Guilder, Anthony Guilder, Stanley Ann

3    Dowdy, PMM3 LLC, Fortress Protection LLC, Elizabeth Lewis, California Cabinet Distributors

4    Inc., Bryce Bussey, and Better Hitting, Inc., hereby voluntarily dismiss their claims against

5    Defendant Wells Fargo, N.A., without prejudice. This voluntary dismissal does not alter or affect

6    the pendency of the claims of any other Plaintiff to this litigation.

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8     Dated: February 4, 2023                           Respectfully submitted,

9                                                       By: /s/ Miles N. Clark
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     Case 2:22-cv-00529-GMN-NJK Document 67 Filed 02/04/23 Page 3 of 3



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